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                         IN THE UNITED STATES DISTRICT COURT

                          DISTRICT OF UTAH, CENTRAL DIVISION


    FEDERAL TRADE COMMISSION,                              FIRST APPLICATION AND
                                                         DECLARATION OF RECEIVER
                          Plaintiff,                   THOMAS R. BARTION REQUESTING
                                                         APPROVAL TO PAY FEES AND
          v.                                           EXPENSES OF THE RECEIVERSHIP
    ELITE IT PARTNERS, INC., a Utah
    corporation doing business as ELITE IT                     Civil No. 2:19-cv-00125-RJS
    HOME, and JAMES MICHAEL
    MARTINOS, individually and as an officer of                   Hon. Robert J. Shelby
    ELITE IT PARTNERS, INC.,

                          Defendants.


         Thomas R. Barton, court-appointed temporary receiver (“Receiver”) over Elite IT

Partners, Inc. (“Elite IT”), and each of its subsidiaries, affiliates, successors and assigns

(collectively the “Receivership Entities” 1), hereby submits this application for approval to pay

fees and expenses of the Receivership (“Application”), and declares as follows:




1
     The Receivership Entities, as defined in the Ex Parte Temporary Restraining Order, With Asset
     Freeze, Appointment of a Temporary Receiver, and Other Equitable Relief [Docket No. 15] (the
     “TRO”), includes Elite IT as well as any other entity that has conducted any business related to
     the marketing or sale of its technical support products and services, including receipt of Assets
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       1.      On February 27, 2019, the Court entered its TRO appointing me as Receiver of

the Receivership Entities. The TRO has been extended three times, and is currently set to expire

on May 8, 2019, unless extended again by the Court. See First, Second, Third and Fourth Orders

Extending Temporary Receivership. [Docket Nos. 47, 59, 72 and 97]

       2.      Section XX of the TRO states:

       IT IS FURTHER ORDERED that the Receiver and all personnel hired by the
       Receiver as herein authorized, including counsel to the Receiver and accountants,
       are entitled to reasonable compensation for the performance of duties pursuant to
       this Order and for the cost of actual out-of-pocket expenses incurred by them,
       from the Assets now held by, in the possession or control of, or which may be
       received by, the Receivership Entities. The Receiver shall file with the Court and
       serve on the parties periodic requests for the payment of such reasonable
       compensation, with the first such request filed no more than sixty (60) days after
       the date of entry of this Order. The Receiver shall not increase the hourly rates
       used as the bases for such fee applications without prior approval of the Court.

       3.      This Application for Payment of Fees and Expenses covers the time period from

commencement of the Receivership on February 27, 2019, through March 31, 2019.

       4.      On March 7 and 22, 2019 [Docket Nos. 28 and 52], the Receiver requested

permission from the Court to pay certain expenses of the Receivership entities, such as employee

payroll, software licensing fees for Elite IT Home customers, health insurance premiums, and

other pre- and post-Receivership expenses. The Court has previously approved each of these

prior requests. [Docket Nos. 31 and 62]

       5.      The fees and expenses addressed in this Application have been incurred by the

Receivership itself. They include fees for the Receiver, attorneys and staff assisting him; fees for




   derived from any activity that is subject of the Complaint in this matter, and that the Receiver
   determines is controlled or owned by any other defendant in this matter. See TRO, p. 5.

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the accountants retained by the Receiver; and website development and maintenance fees for the

Receivership’s website.

       6.      The TRO also authorizes the Receiver to establish separate bank accounts for the

Receivership and provides that he “shall deposit all funds of the Receivership Entities in such

designated accounts shall and make all payments and disbursements from the receivership estate

from such accounts.” Id. at § XIV.O.

       7.      The Receiver has established such an account at Stretto (the “Stretto Account”),

which is a financial institution that specializes in providing banking services for receiverships,

bankruptcy trustees, corporate restructuring, etc.

       8.      As a result of the asset freeze contained executed under TRO, funds totaling

approximately $684,049.00 held at Wells Fargo in the accounts of Elite IT Partners were frozen.

The Receiver has transferred these funds to the Stretto Account.

       9.      Additional funds from the operations of Elite IT Partners have been deposited (or

are in the process of being deposited) into the Stretto Account. Expenses of the Receivership

have been paid from this account. The Receiver is in the process of investigating and gathering

funds from other sources as well.

       10.     As of the date of this filing, the Receiver is holding funds totaling $564,527.18 in

the Stretto Account.

       11.     Attached as Exhibit A is a billing statement from Prince, Yeates & Geldzahler for

the applicable time period. The work performed during the applicable time period by the

Receiver and other attorneys and paralegals at Prince Yeates is detailed in the billing statement.

Generally, the work performed by the Receiver and others at Prince Yeates has consisted of:



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     -   Initial review of the FTC’s Complaint, motion for TRO, associated exhibits, and the
         TRO itself. Ongoing review of evidence submitted by FTC.
     -   Immediate entry into Elite IT’s Orem office to secure the premises assets, documents,
         and data, interview employees, etc. Ongoing interviews of employees, investigation
         of Elite IT’s data, information and systems.
     -   Analysis of the operations of the Receivership Entities, including both the “Home”
         and “B2B” operation. Work to secure Receivership assets.
     -   Work with Elite IT employees to maintain B2B operations, assess staffing needs,
         secure access to company data. Attention to various human resources issues—
         including ongoing payroll and scheduling of B2B employees. Communicate with
         B2B clients regarding the receivership, case status, and fulfilling ongoing contractual
         obligations.
     -   Send out notices of receivership to IRS and other federal district courts where
         receivership assets are located. (See 28 U.S.C. § 754 and 26 U.S.C. § 6036.)
     -   Legal research re: authority of receiver vis-à-vis corporate attorneys, ability of
         receiver to cancel contracts, and other relevant points of law.
     -   Preparation and submission of a Response [Docket No. 35] and Declaration [Docket
         No. 34] opposing Defendants’ Emergency Motion to Limit the Receiver’s Authority.
         Additional preparation for, and participation in, hearing related thereto.
     -   Various motions to the Court to pay expenses of the Receivership Entities [Docket
         Nos. 28 and 52], and other motions related to the administration of the Receivership
         and Receivership Entities. [Docket Nos. 40 and 66]
     -   Multiple visits to Wells Fargo and communications with Wells Fargo personnel in
         order to arrange for transfer of funds from Wells Fargo accounts to the Receivership
         account. [See Docket Nos. 41 and 43]
     -   Work with accountants in preparing the Receiver’s First Accounting and Financial
         Report. [Docket No. 53]
     -   Preparation and submission of the Memorandum Opposing Defendants’ Motion to
         Release Funds for Payment of Attorney Fees. [Docket No. 60]
     -   Creation and maintenance of an informational website for Elite IT customers.
         Written and telephonic communications with customers and employees.
     -   Repeated notices to, and communications with, various entities regarding the Court’s
         extensions of the TRO and the Receivership. [Docket Nos. 47 and 59]
     -   Work to secure ongoing support for protective software installed on computers of
         Elite IT Home customers.
     -   Work to respond to chargeback requests and unemployment claims in order to secure
         and preserve Receivership assets and the rights of the Receivership Entities.



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       -     Communications with Utah Assistant Attorney General re: pending lawsuit against
             Elite IT and prior administrative proceeding
       -     Communications with the Court’s clerk regarding various issues.
       -     Communications with attorneys for the FTC and Martinos parties regarding various
             issues.

       12.      The fees for the services of the Receiver and his attorneys and paralegals at Prince

Yeates, as shown in Exhibit A, total $95,068.00. At the request of the FTC, the Receiver has

reduced this amount by five percent (5%) ($4,753.40) for an adjusted total of $90,314.60.

       13.      Over $12,000 of the fees expended by the Receiver were associated with

opposing Mr. Martinos’ Emergency Motion to Limit the Receiver’s Authority and his

subsequent Motion to Release Funds for Payment of Attorney Fees.

       14.      Although the Receiver has worked to reduce the drain on the Receivership

associated with supervision of Elite IT’s B2B operation, the Receiver estimates that

approximately $25,000 of the total fees expended by the Receiver were directly associated with

the Receiver’s efforts to maintain the status quo with the B2B operation, which has included

supervision of Elite IT employees, communications with B2B customers, and attention to

additional expenses, payroll, and administrative burden directly associated with the B2B

operation.

       15.      The billing rates for the attorneys and paralegals utilized by the Receiver are as

follows:

                       Name                                           Hourly Rate
                    a. Thomas R. Barton, Receiver                     $305.00
                    b. Alex B. Leeman, attorney                       $235.00
                    c. G. Troy Parkinson, attorney                    $235.00
                    d. Karen Kendrick, paralegal                      $135.00



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       16.     The billing rates for the Receiver and the attorneys and paralegal working on this

matter have been discounted substantially below their regular hourly rates. The Receiver

believes these rates to be reasonable based on his 20 years of experience as an attorney in this

market, local industry standards, the experience and skill of the individuals in question, and the

nature of the work performed.

       17.     Costs and expenses incurred by the Receivership through March 31, 2019, and to

be reimbursed to Prince Yeates, total $1,930.56. See Exhibit A. This amount consists, generally,

of costs associated with creating and maintaining the Receivership informational website,

parking, postage, and public record search expenses.

       18.     The sum total of fees and costs requested to be paid to Prince Yeates is

$92,245.16. The Receiver believes these amounts are reasonable based on his experience as an

attorney, prior experience as a receiver, local industry standards, and the amount and nature of

the work performed. This is especially true in light of the additional five percent discount.

       19.     Attached as Exhibit B is a billing statement from Rocky Mountain Advisory for

the applicable time period. Rocky Mountain Advisory is the accounting firm retained by the

Receiver pursuant to Section XIV.F of the TRO to assist with analyzing and managing the affairs

of the Receivership. The work performed during the applicable time period by Rocky Mountain

Advisory is detailed in the billing statement.

       20.     Attached as Exhibit C is the Declaration of John H. Curtis, of Rocky Mountain

Advisory, describing the services rendered, rates charged, and basis for Rocky Mountain

Advisory’s fees and expenses. The Receiver believes the fees and expenses owed to Rocky

Mountain Advisory are reasonable based on his 20 years of experience as an attorney in this



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market, local industry standards, the experience and skill of the individuals in question, and the

nature of the work performed.

        21.      The sum total of fees and costs requested to be paid to Rocky Mountain Advisory

is $24,435.52.

        22.      Attached as Exhibit D is a billing statement from Jon Robertson for the applicable

time period. Mr. Robertson was engaged pursuant to Section XIV.F of the TRO to assist with

creating and updating the Receivership informational website and information pop-ups on the

Elite IT Home website. The work performed during the applicable time period by Mr. Robertson

is detailed in the billing statement.

        23.      The sum total of fees requested to be paid to Mr. Robertson is $1,015.00.

        24.      If approved, the Receiver intends to pay the foregoing fees and expenses

described in this Declaration from the amounts held in the Receivership account at Stretto.

        25.      The Receiver has communicated with counsel for the FTC. He has provided them

with copies of the relevant invoices and a draft of this Application. The FTC has indicated that it

does not oppose this Application, the total amount requested, $117,695.68, or the component

parts identified herein.


        I declare the foregoing to be true and accurate, to the best of my knowledge, information

and belief, under penalty of perjury of the United States of America. A proposed Order is

submitted herewith.

        RESPECTFULLY SUBMITTED this 26th day of April, 2019.


                                              /s/ Thomas R. Barton (original on file with counsel)
                                              Thomas R. Barton, Receiver


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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of April, 2019, I filed a true and correct copy of the
foregoing FIRST APPLICATION AND DECLARATION OF RECEIVER THOMAS R.
BARTION REQUESTING APPROVAL TO PAY FEES AND EXPENSES OF THE
RECEIVERSHIP, which sent notice to the following via the Court’s CM/ECF system:

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                                                      /s/ Alex B. Leeman




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